Case 1:23-cv-03621-SCJ Document 44 Filed 08/25/23 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

THE STATE OF GEORIGA,
Plaintiff, CIVIL ACTION FILE
Vv. NO. 1:23-CV-3621-5CJ

MARK RANDALL MEADOWS,
Defendant.

ORDER
Pursuant to Local Rule 83.4 for the Northern District of Georgia and by
direction of this Court, it is hereby ORDERED that each of the following counsels
of record in the above-entitled action will be permitted to bring one (1) laptop
computer to Courtroom 1907 on the 19" floor of the United States Courthouse for
the purpose of presentation of evidence or perpetuation of the record during a
hearing scheduled before the Honorable Steve C. Jones on August 28, 2023 at 10:00

AM:

1. John W. Wooten;

2. Francis McDonald Wakeford, IV;
3. George J. Terwilliger, II;

4. John S. Moran;

5. Joseph Englert;

6. Michael Francisco;

7. Anna Cross;

8. Daysha Young;

9. Adam Ney; and
Case 1:23-cv-03621-SCJ Document 44 Filed 08/25/23 Page 2 of 2

10. Emily Erb Kelly.

The individual(s) seeking to enter with the equipment will be required to
produce proper identification upon entering the security station located at either
entrance to the Richard B. Russell Federal Building. The prohibition pursuant to
Administrative Order No. 23.03 on cellular phones and other electronic devices

with camera or other recording technology remains in full force and effect.

IT IS SO ORDERED, this 25" day of August, 2023. Up

STEVE C. JONES /
UNITED STATES DISTRICT JUDGE

